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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA

Vs.                         CASE NO. 4:06cr00104-08 JMM

KHALEELAH RAHSHANE POWELL


                                         ORDER

       The United States’ second motion to amend/correct restitution (docket entry #283)

is granted.

       The June 15, 2007 Judgment (docket entry #195) and the March 12, 2008 Amended

Judgment (docket entry #263) are amended to state that the total amount of restitution,

$12,390.27 ($8,914.00 to Bank of America and $3,476.27 to Metropolitan Bank) is joint

and several between Khaleelah Rahshane Powell, Courtney Johnson (4:06cr00104-

01JMM), Doris J. Martin (4:06cr00104-09 JMM), Lanora Marshelle Glass (4:06cr00104-06

JMM), Lacresha Nicole Pugh (4:06cr00104-07 JMM) and Valencia White (4:07cr00200

WRW).

       The remaining portions of the judgments will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office and the Finance Section of the Clerk’s office.

       IT IS SO ORDERED THIS 10th day of July, 2008.




                                             UNITED STATES DISTRICT JUDGE
